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  10
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  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
  14

  15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  16   ANTITRUST LITIGATION                     DISCOVERY MATTER
  17   THIS DOCUMENT RELATES TO                 NOTICE OF MOTION AND
       ALL ACTIONS                              MOTION REGARDING
  18                                            PLAINTIFFS’ MOTION TO
                                                COMPEL PRODUCTION OF
  19                                            DOCUMENTS BY NFL
                                                DEFENDANTS
  20
                                                Magistrate Judge: Hon. John E.
  21                                            McDermott
                                                Date/Time: 6/7/2022, 10:00 a.m.
  22                                            Discovery Cutoff Date: 8/5/2022
                                                Pretrial-Conference Date: 2/9/2024
  23                                            Trial Date: 2/22/2024
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on June 7, 2022 at 10:00 a.m., or as soon
   3   thereafter as this matter may be heard, Plaintiffs, on behalf of themselves and all
   4   others similarly situated, (“Plaintiffs”) will and hereby respectfully move for an
   5   order to Compel Production of Documents by Defendants National Football
   6   League, Inc. and NFL Enterprises LLC (the “NFL”) pursuant to Federal Rule of
   7   Civil Procedure 37.
   8         This Motion will be heard in the Courtroom of the Honorable John E.
   9   McDermott for the United States District Court in the Central District of California.
  10   The Court is located at the Roybal Federal Building and United States Courthouse,
  11   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
  12         This Motion is based upon this notice, the concurrently filed joint stipulation,
  13   the exhibits and declarations attached thereto, the pleadings and records on file in
  14   this action and such other matters as the Court deems necessary and proper.
  15         This Motion is made following conferences of counsel pursuant to Local
  16   Rule 37-1, which took place on March 30, April 8, and April 20, 2022.
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  18   DATED: May 17, 2022                    By:     /s/ Marc M. Seltzer
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